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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                v.                                :           Crim No. 1:22-cr-00354-RCL
                                                  :
RICHARD SLAUGHTER, and                            :
CADEN PAUL GOTTFRIED,                             :
                                                  :
                      Defendants.                 :

UNITED STATES’ RESPONSE TO DEFENSE MOTION TO DISMISS COUNT ONE OF
  THE INDICTMENT ON THE GROUNDS THAT A BATON BELONGING TO THE
 METROPOLITAN POLICE DEPARTMENT IS NOT GOVERNMENT PROPERTY

       The United States of America (the “government”) respectfully submits this opposition to

Defendants’ Motion to Dismiss Count One (“the Motion”), ECF No. 52. For the reasons contained

herein, the United States respectfully asks the Court to deny the Motion.

       Count One charges defendant Richard Slaughter with the offense of Robbery within the

Special Maritime and Territorial Jurisdiction of the United States, in violation of Title 18, United

States Code, Section 2111. Count One alleges that:

                 On or about January 6, 2021, at or around 3:47 p.m., within the special maritime
                 and territorial jurisdiction of the United States, RICHARD SLAUGHTER did
                 by force and violence, and by intimidation, take and attempt to take from the
                 person or presence of another, that is, an officer from the Metropolitan Police
                 Department, a thing of value, that is, a baton.

       The elements of Robbery under 18 U.S.C. § 2111 are:

       First:           That the defendant obtained property that he was not lawfully entitled to,
                        from a person, without that person’s consent;

       Second:          That the defendant used actual or threatened force, violence, or
                        intimidation to obtain the property;

       Third:           The defendant knowingly obtained the property in this way; and
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       Fourth:         The defendant committed this offense within the special maritime or
                       territorial jurisdiction of the United States. 1

       In its filing, the defense claims that the Metropolitan Police Department baton alleged to

have been taken by Slaughter is not property of the United States. But proving the baton is federal

government property is not an element of the offense. 2 Rather, the jurisdictional element is met

by proving that the robbery occurred “within the special maritime and territorial jurisdiction of the

United States.” Whether or not the police baton is property of the United States is immaterial.

       WHEREFORE, the United States, respectfully requests that this Court deny defense’s

motion to dismiss Count One.

                                              Respectfully submitted,

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1
  See, e.g., United States v. Geoffrey Sills, 21-cr-40-6 (TNM), ECF No. 427, at 2 (Statement of
Facts for Stipulated Trial); United States v. Robert Morss, 21-cr-40-5 (TNM), ECF No. 430, at 1
(same); United States v. Jeffrey Sabol, 21-cr-35 (RC), ECF No. 351, at 3 (same).
2
  Slaughter might have an argument if he were charged under 18 U.S.C. § 2112, which makes it
an offense to “rob[] or attempt[] to rob another of any kind or description of personal property
belonging to the United States.” But the government has not charged robbery under this statute.
                                                  2
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